Case 1:05-cr-10025-.]DT Document 9 Filed 05/17/05 Page 1 of 2 PagelD 15

|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE Fi-LED BY_ DC`
EASTERN D|V|S|ON ' `

 

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Praintirr CLERK U3- DlST CT.
’ W-D D.OF FTN JACKSON
v. Cr. No. 05-10025-T/An

DJUAN JONES,

Defendant.

 

ORDER ON ARRA|GNMENT

 

This cause came to be heard on lVlay 17, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the
following counse|, who is retained:

NA|V|E: Wayne Dewees
ADDRESS:

TELEPHONE:

The defendant, through counsel, waived formal arraignment and entered a plea of not
guilty.

A|l motions shall be filed Within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant who is not in custody, may stand on his present bond.

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S. THOMAS ANDERSON
United States Magistrate Judge

Charges: felon in possession of a firearm
Assistant U.S. Attorney assigned to case:

Rule 32 was: Waived not waived.

This document entered on the docket sheet in co lian
with Rule 55 andi'or 32(b) FRCrP on §2 2 § 2 § z

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 9 in
case 1:05-CR-10025 Was distributed by faX, mail, or direct printing on
May ]8, 2005 to the parties listed.

 

 

Wayne T. DeWees

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Jerry R. Kitchen

U.S. ATTORNEY
109 S. Highland Ave.
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Honorable J ames Todd
US DISTRICT COURT

